       Case 3:07-cv-05944-JST Document 4792 Filed 08/22/16 Page 1 of 3



 1   [Stipulating parties listed on signature page]

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                                UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
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10    IN RE: CATHODE RAY TUBE (CRT)                   Master File No. 3:07-CV-05944-JST
      ANTITRUST LITIGATION                            MDL No. 1917
11

12    This Document Relates To:                       STIPULATION AND [PROPOSED]
                                                      ORDER REGARDING BRIEFING
13    Sears, Roebuck and Co. and Kmart Corp. v.       AND HEARING SCHEDULE FOR
      LG Electronics, Inc., et al, Case No. 11-cv-    DEFENDANT LG ELECTRONICS,
14    05514                                           INC.’S MOTION FOR BIFURCATION
                                                      AND BENCH TRIAL
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27                                                             Master File No. 3:07-CV-05944-JST
28          STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING AND HEARING SCHEDULE
                         FOR LGE’S MOTION FOR BIFURCATION AND BENCH TRIAL
       Case 3:07-cv-05944-JST Document 4792 Filed 08/22/16 Page 2 of 3



 1          WHEREAS, Plaintiffs Sears, Roebuck and Co. and Kmart Corporation (“Plaintiffs”) are
 2   the only remaining Plaintiffs in Case No. 11-cv-05514 (“Sears/Kmart case”);
 3          WHEREAS, LG Electronics, Inc. (“LGE”) is the only remaining Defendant in the
 4   Sears/Kmart case;
 5          WHEREAS, LGE filed its motion for bifurcation and bench trial in the Sears/Kmart case
 6   on August 12, 2016 (ECF No. 4759), pursuant to this Court’s order issued at ECF No. 4623;
 7          WHEREAS, that motion is currently noticed for a September 22, 2016 hearing;
 8          WHEREAS, Plaintiffs and LGE are already scheduled to appear before this Court on
 9   September 20, 2016 for a status conference at 2:00pm, see ECF No. 4689;
10   PURSUANT TO LOCAL RULE 7-12, PLAINTIFFS AND LGE, BY AND THROUGH THEIR
11   RESPECTIVE COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:
12          1.     The parties agree to the following briefing deadlines for LGE’s motion for bench
13   trial and bifurcation (ECF No. 4759), if convenient for the Court: August 30, 2016 for
14   Sears/Kmart’s opposition brief; and September 8, 2016 for LGE’s reply brief.
15          2.     If convenient to the Court, the parties agree to move the hearing on LGE’s motion
16   for bifurcation and bench trial (ECF No. 4759) to the September 20, 2016 status conference.
17   Dated: August 19, 2016                        Respectfully submitted,
18
                                                   MUNGER, TOLLES & OLSON LLP
19

20                                                 By:    /s/ Brad Brian
                                                         Brad Brian (State Bar No. 079001)
21                                                       Gregory J. Weingart (State Bar No. 157997)
                                                         E. Martin Estrada (State Bar No. 223802)
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24                                                       Fax: (213) 687-3702
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25                                                                gregory.weingart@mto.com
                                                                  martin.estrada@mto.com
26
                                                   Attorneys for Defendant LG Electronics, Inc.
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28                                               -1-           Master File No. 3:07-CV-05944-JST
            STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING AND HEARING SCHEDULE
                         FOR LGE’S MOTION FOR BIFURCATION AND BENCH TRIAL
         Case 3:07-cv-05944-JST Document 4792 Filed 08/22/16 Page 3 of 3



 1
                                                          KENNY NACHWALTER, P.A.
 2

 3
                                                          By:    /s/ William J. Blechman
 4                                                              Richard Alan Arnold, Esquire
                                                                William J. Blechman, Esquire
 5                                                              Douglas Patton, Esquire
                                                                Samuel J. Randall, Esquire
 6                                                              Christina Ceballos-Levy
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12

13                                                        Attorneys for Plaintiffs Sears, Roebuck and Co.
                                                          and Kmart Corp.
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16              Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
17   document has been obtained from each of the above signatories.
18              It is so stipulated and agreed to by the parties.
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20                                                                                   ES DISTRICT
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21                                                                                TA                       O
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22   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                                                RDER    ED
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23                                                                               IT
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                 August 22, 2016
24   Dated:
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                                                                Honorable Jon S. Tigar
                                                                                       g e J o n S
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25                                                                                 JudJudge
                                                                United States District
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28                                                   -2-           Master File No. 3:07-CV-05944-JST
                STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING AND HEARING SCHEDULE
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